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    FD-272 (Rev. 9-8-97)


I                                   FEDERAL BUREAU OF INVESTIGATION

                                                                               0482-11-CID093-422~~
         Reporting Office            Office of Origin                   Date                 Investigative Period

         Atlanta                     Atlanta                            0311912012           12/2011 - Present
         Title of Case                                                  R eport made by                                           Typed By:
        Isaac Glen Agui gui                                             SA Bradford Snider
        Tier 5 - Radicalizer I Recruiter
        AOT-DT - Anarchist Extremism                                    Character of Case
                                                                        Domestic Terror ism




                                                                  PROSECUTNE




                                                        Special Agent
        Approved                                                                            Do not write in spaces below
                                                          in Charge
        Copies made:
        1 - USAO(AUSA Bourne)
        1 - Army CID (SA Jeremy Foxx)
        1 - AT (266H -AT-107597 )




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      Exhibit 45 (Corrected)                                      Cover Page
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    FD-517 (Rev. 2-17-97)



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                                                                  048Z~11-CID093-42290
                                               Federal Bureau of Investigation




                                    Prosecutive Report of Investigation Concerning

                                                   ISAAC GLEN AGUIGUI
                                             TIER 5 - RADICALIZER/RECRUITER
                                              AOT-DT - ANARCHIST EXTREMISM .



                                                     266H-AT-107597




                                                   SA Bradford Snider




                                  Copy to:     UNITED STATES ATTORNEY'S OFFICE
                                               SOUTHERN DISTRICT OF GEORGIA
                                               AUSA CARLTON R. BOURNE                       EXHIBIT

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                     2. Anthony Peden
                     3. Michael Abraham Burnett
                     4. Heather Salmon #1
                     5. Heather Salmon #2
                     6 . Christopher Jenderseck #1
                     7. Christopher Jenderseck #2
                     8. Adam Dearman

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                     2. Timothy Joiner (.active military)
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           Report or:      SA Bradford Snider                                                      Office:                         Atlanta
           Date:           March 19, 2 012
           Case 10 #        266H-AT-107597


           Narrative or Offense:


                          This investigation has been conducted by age nts of the FBI,
              Bureau of Alcohol, Tobacco, Firearms and Expl osives (ATF), Georgia
              Bureau of I nvestigation (GBI ) , and Army Criminal Inves ti gation
              Division (CID) .

                            AGUIGUI is an active duty soldier assigned to the 6-8
              Cavalry , 4 t h Brigade, 3 r d Infantry Divis ion, Fort Stewart, Georgia .
              AGUIGUI is currently being held at a local jail on charges related to
              the homicides of Michael Roark and Tiffany York. AGUIGUI admitt ed to
              being present at the homicides along with other members of his group.
              AGUIGUI admitted to being a member of the group that c a lled itse lf
              "The Family ," and that the group was responsible for t he homicides .
              As it pertains to this investigation, "The Family" is composed of the
              following individuals : ISAAC AGUIGUI, Chris Salmon, Heather Salmon,
              Michael Burnett, Anthony Peden, Chris Jenderseck, and Adam Dearman.
              All of the above either admitted to being members of the group or were
              identif ied as such by other membe rs o f the group . The group a lso
              called itself "FEAR" (Forever Enduring Always Ready).

                         According to AGUIGUI, he recruited Michael Roark to be a
              member of "The Family" prior to Roark's death. Roark attended
              meetings with others in the group and rented a storage f acility on
              behalf of AGUIGUI . Roark sent a text to the group stating that he
              found a place to purchase "plates for their vests" while in Florida.
              When Roark returned from Florida, AGUIGUI, Burnett, Chris Salmon, and
              Peden asked him to meet on a rural road in Long County , Georgia . When
              Roark met with t hem that evening, he was murdered along with his
              girlfriend, Tiffany York . AGUIGUI and Peden have confessed to taking
              a part in the murders. Burnett admitted that he was present at the
              scene of the murders. AGUIGUI stated, at various times, that Roark
              stole from him and that Roark knew too much . Peden stated that they
              wanted to scare Roark, but things got out of hand.
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                   Custodial interviews were conducted with AGUIGUI, Burnett,
      and Peden on December 10 and 11, 20 1 1, by agents of the GBI and FBI.
      Al l three individuals had some knowledge of "The Family's" purpose,
      but differed as t o knowledge of what plans were involved . As noted
      b elow , certain p l ans were d eveloped by specif i c individuals and not
      all members were part of all the discussions .

                   According to Peden and Burnett, between October 1, 2011 and
      December 10, 2011 , "The Fami ly" developed a plan to pur chase 90 acres
      of land in the state of Washington and build a compound where they all
      would live.    Each member of "The Family" would have a role in the
      compound .   "The Family" recruited several friends to join the group
      and AGUIGUI asked them to join him in washington. AGUIGUI was
      d i sillusioned by the Army and how the U.S. Government had treat ed him .

                  According to Peden and Burnett, after reading an article in
      "Game Informer" magazine about a fictional domestic terrorist group in
      a video game, AGUIGUI and Chris Salmon talked about how this idea
      appealed to them . In the video game, domesti c terrori sts take over
      key U.S . cities and attempt to overthrow the U.S. Government. They
      showed the article to Peden, Burnett, Jenderseck, and Dearman. If a
      person agreed with the basic tenets of the article, as all of "The
      Family" did, AGUIGUI would discuss his plans f or moving to Washington
      and indoctrinate them with t he group's ideas.

                   Peden a nd Burnett told investigators that between October 1,
      2011 and December 10, 2011, AGUIGUI , Chris Salmon, Bur nett, and Peden
      discussed methods to overthr ow the government of the United States.
      Peden and Burnett stated that the long-term goal of "The Family" was
      to give the United States back to the people on July 17/ 2031, the
      20th anni versary of AGUIGUI 'S wife's death . Although no definitive
      p l an was adopted to effectua te this g oal, AGUI GUI, along with other
      members of "The Family  1 " attempted to construct explosive devices,
      stockpiled weapons, engaged in tradecraft to conceal such actions/ and
      recruited other individuals to do the same. AGUIGUI, Peden/ Burnett,
      and Salmon also t rained in methods to tactically enter a house in an
      urban environment .     Peden stated that he was training other members
      of the group in how to use firearms and become "snipers."

                 AGUIGUI stated that at various times during this period/
      members of "The Family" d i scussed the possib ility and the feasib i lity
      of such actions. Among the actions discussed by AGUIGUI/ Burnett, and
      Peden were the kidnaping of Army officers/ the poisoning of water

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      supplies, blowing up the vehicles of government officials, and
      destroying various landmarks. AGUIGUI admitted during a custodial
      interview on December 11, 2011, that the group could have successfully
      taken over the 4th Brigade Barracks on Fort Stewart, but at the
      present time , none of the other actions were possible.

                 AGUIGUI admitted to attempting to assemble a pipe bomb and
      storing such materials at the Salmon residence on Fort Stewart.
      According to receipts and video taken from Lowe's Home Improvement,
      AGUIGUI used his money to purchase t he parts needed to create
      explosive devices .

                 Pur suant to a search warrant authorized in the Southern
      District of Georgia, Burnett's residence at 7416 Taejon Street, Fort
      Stewart, Georgia, was searched. A partially assembled pipe bomb was
      discovered along with detailed plans to construct a firing mechanism
      for the bomb. The plans were found in a notebook with AGUIGUI'S name
      on it. Books on building booby traps and urban survival were also
      found at the residence. The parts needed to construct the bomb were
      located in a box at Burnett's residence. According to Burnett,
      AGUIGUI asked him t o store the box there following the murders of
      Roark and York.

                  Peden stated that he taught AGUIGUI how to make a p ipe bomb
      and t hey began to assemble a device at the Salmon residence.
      Materials used to make an explosive device were also discovered at
      Peden's residence at 701 Cordele Circle, Hinesville, Georgia, and the
      storage facility rented by AGUIGUI . Burnett admitted that he saw
      AGUIGUI and Peden assembling a pipe bomb. AGUIGUI stated that he
      wanted to detonate the bombs under the vehicles of government
      officials . At various times he mentioned the district attorney and
      the homeland security director.   Peden and Burnett discussed
      purchasing old vehicles and experimenting on them with their homemade
      explosive devices.

                  AGUIGUI'S wife died on July 1 7, 2011 . As o f now, the cause
      of the death is still undetermined. Due to the fact that iodine was
      found in her system {she had an iodine allergy), Army CID is still
      treati ng AGUIGUI as a suspe ct in his wife's death. As a member of the
      Army, AGUIGUI'S wife was enrolled in the Service Member's Group Life
      Insurance {SGLI) policy.     In August 2011, AGUIGUI was the beneficiary
      of his wife's $400,000 SGLI policy .    According to AGUIGUI, there was
      another lif e insurance policy because he received approxi mately
      $500,000 in life insurance benefits . When Heather Salmon began to


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      manage his money in Octobe r 2011, there was approximately $150,000
      remaining from the original amount .

                 AGUIGUI used the life insurance money received from the
      death of his wife to purchase firearms in Washington.   AGUIGUI
      purchased approximately $32,000 of firearms, ammunition and fi rearms
      accessories from High Mountain Hunting Supply located at 223 North
      Mission Street, Wenatchee, Washington 98801 in September 2011. The
      purchases were made while AGUIGUI was physically present and on
      authorized military leave. AGUIGUI l eft the firearms in the custody
      of a friend in Washington.

                  In separate purchases made over the telephone, AGUIGUI
      bought $26,000 of firearms, ammunition and firearms accessories
      between September 29, 2011 and November 28, 2011 from High Mounta in
      Hunting Supply.    Although AGUIGUI paid for the above firearms and
      acce ssories, he never collected the fire arms from that store; nor did
      the store mai l or deliver the weapons to him.

                   AGUIGUI financed all of the group's purchases from his own
      bank accounts. All of the items purchased by AGUIGUI were intended
      for use by "The Family." Weapons purchased in Georgia were stored at
      the homes of group members and at storage facilities rented by
      AGUIGUI.     AGUIGUI was maintaining asset s for the purpose of
      furthering the plans of "The Family." As such, AGUIGUI was providing
      resources that were to be used in preparation for the destruction of a
      building or property used in interstate commerce or owned by the U.S.
      Government .

                  Based on the above stated facts, FBI / Atlanta believes that
      I SAAC GLENN AGUIGUI was involved in domest i c terrorism and providing
      mater ial support to t errorists. Through his act ions as detailed above
      AGUIGUI provided material support to terrorists in violation of Title
      18, United States Code, Section 2339A. AGUIGUI provided material
      support and resources, intending that they be used in preparation for
      a violation of Title 18, United States Code, Sections 844(f):
      attempted destruction by an explosive device of building or property
      owned by the United States; and that he was part of a conspiracy to
      kill an officer or employee of the United States Government, in
      violation of Title 18, United States Code, Sections 371 and 1114.




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                                                                                                                                   Trevor Miller



                              ~                                                                            Introduced
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                                                                                                        -to "Family"-
                          FNU lloyd         FNUDodds                          Jessica Dearman Ericka Romeo
                                                           Stephen Payne
                                           Bio-Chemical
                                                          Active Duty Army
                                            Engineer(?)


Exhibit 45 (Corrected)                                                                                                                      APCID00445
